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                 EXHIBIT 2
                                                                                                        8
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                                                                EXHIBIT 2 TO ROTHMAN DEC. PG. 1



       Spokane County Sheriff's Office
       June 11 at 1:40 PM ·

Naked Convicted Felon, Released from Prison Days Before, Violently Assaults Female Victim,
Chasing Her through a Neighborhood and Assaults a Deputy During Arrest
Spokane Valley Deputies responded to a reported naked male chasing and arguing with a female,
yelling for help in the 1000 block of N. Bessie Road. Arriving Deputies located the male suspect,
who was completely naked, and the female victim, pleading for help in the 8500 block of E. Sharp
Avenue. They helped the victim escape to safety, but the suspect was uncooperative, yelled
gibberish, and would not follow commands. He tried to run but fell, and Deputies attempted to
detain him. The suspect punched a Deputy in the face and continued to resist efforts to place
him in handcuffs. A Taser was deployed twice, and eventually, the Deputies gained control and
took the suspect into custody.
Deputies learned the suspect, a convicted felon with a history of violent, assaultive behavior, had
just been released from prison days earlier. The suspect was transported and booked into the
Spokane County Jail for felony charges of Assault 2nd Degree Strangulation with Sexual
Motivation (DV) and Assault 3rd Degree. A Washington State Department of Corrections Hold
was placed on him on June 10, 2024.
###
On June 6, 2024, at approximately 2:00 pm, Spokane Valley Deputies responded to a reported
possible Domestic Violence call of a large naked male chasing a female who was screaming for
help.
A Deputy located the male, later identified as 29-year-old Logan P. L. Ortiz, in the 8500 block of E.
Sharp Road. The Deputy noted Ortiz had a large, muscular build and was indeed completely
naked as he walked toward the adult female victim, who was balled up on the stairs/porch of a
residence.
The Deputy began giving Ortiz commands, but instead of complying, Ortiz looked at the Deputy,
opened his arms, laid down next to the victim, and began hugging her. The victim was crying,
obviously scared, and yelling for help with her hand extended toward the Deputy. As the Deputy
moved closer with his Taser drawn, he told the victim to escape. She stood up and ran from the
porch as the Deputy placed himself between her and Ortiz.
Ortiz remained defiant and would not follow commands. He resisted efforts to place him in
handcuffs, stood up, began yelling the name of a known gang as he clinched his fists, and took a
fighting stance. Otiz continued to ignore commands despite being warned a Taser would be used
as additional Deputies arrived to assist.
Deputies continued to try and de-escalate the situation, but Ortiz remained highly agitated and
uncooperative, even stating that he was unarmed and Deputies couldn’t do anything to him.
Deputies continued to try and calm Ortiz as they backed up, hoping he would step off the cement
porch and onto the grass, decreasing the possibility of injury if a Taser was used. Suddenly, Ortiz
ran through the yard but tripped and crashed into a recycle bin and trailer as Deputies tried to
gain control quickly. Ortiz made it back to his feet, struck a Deputy in the face as he tried to get
away, and appeared to be readying himself to hit another Deputy. At this point, a Taser was
deployed, which seemed to be effective, causing him to stumble back to a small retaining wall
and ball up.
As Deputies tried to place Ortiz in handcuffs, he continued to resist, disconnecting one of the
Taser probes. A second application of a Taser was deployed, and after a short struggle, Deputies
gained control and placed Ortiz in handcuffs.                                                          8
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                                                                EXHIBIT 2 TO ROTHMAN DEC. PG. 2

Spokane Valley Fire medics responded to the scene to provide medical treatment. He was
transported to the hospital for further evaluation and treatment before being transported and
booked into jail.
The victim told Deputies that she and Ortiz dated and lived together in 2020. There had been
Domestic Violence incidents in the past, including one where Ortiz strangled her. Once Ortiz was
released from prison on June 5, 2024, he messaged the victim, stating he wanted to see her. She
declined due to the late hour but admitted she felt bad for him and agreed to meet during the
day.
On June 7, 2024, Otiz arrived by bus, and they talked a little before Ortiz asked to use the
bathroom. She said he was gone for several minutes, and when she went to check on him, Ortiz
was lying naked on her bed. The victim told him he needed to leave, but he didn’t and grabbed
her arm, pulling her toward the bed. Ortiz refused to leave until she got into bed with him. When
she said no, he dragged her onto the bed, put his hands around her neck, and began to strangle
her. She couldn’t breathe but managed to roll him off her, and she tried to flee the residence.
Ortiz caught up to her and again began to strangle her. The victim elbowed him, broke free from
his grasp, and ran out of her home while yelling for help. Ortiz, still completely naked, chased her
down the street and through the neighborhood. During her escape, Ortiz caught her again, took
her to the ground, and began strangling her. The victim felt like she was starting to lose
consciousness when a neighbor intervened, asking what was going on. Ortiz released the victim
and began to approach the neighbor aggressively while talking gibberish before chasing after the
victim again.
Eventually, he caught up to her in the 8500 block of E. Sharp, where the victim was attempting to
get help at a residence, and the initial Deputy arrived, later taking Ortiz into custody.
The victim was provided medical attention at the scene and was transported to the hospital for
additional treatment and evaluation.
Deputies confirmed Ortiz had just been released from prison and was on supervised probation for
Burglary 1st Degree and Assault 2nd Degree with a Deadly Weapon. He also had a criminal
history showing charges of Assault 3rd Degree, Criminal Trespass, Residential Burglary, Retail
Theft, Assault 4th Degree, Malicious Mischief, and Domestic Violence Order Violation.
Ortiz was medically cleared and booked into the Spokane County Jail for Assault 2nd Degree
Strangulation with Sexual Motivation (DV) and Assault 3rd Degree. During his first appearance in
court, Spokane County Superior Court Commissioner set Ortiz’s total bond at $50,000. A
Washington State Department of Corrections Hold was also placed on him, preventing his release.
The Deputy who was punched was not severely injured and returned to work.
                                                                                                      8
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                                                                EXHIBIT 2 TO ROTHMAN DEC. PG. 3




        146                                                                   84 comments 14 shares

                  Like                         Comment                              Share

All comments﻿

      Comment as Mika Kurose Rothman


      Tracy Spitz
      Vote for people who keep criminals behind bars Spokane!!!
      1w   Like     Reply                                        6

      Dave Nelson
      But at least he didn’t leave black marks on the pride mural downtown.
      1w   Like     Reply                                                13

      Waco Payne
      Please bring back the death penalty.
      1w   Like     Reply

      Paola Maria
      It really is unfortunate that the Judiciary can't be held responsible.
      Excellent job, Deputies.
      1w   Like     Reply   21

      Maria F Freedom
      He shows a very callous disregard for that woman's life and for the public at large.
   He's never going to be ready for release into society.                                       8
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   1w    Like   Reply                                                              4
                                                              EXHIBIT 2 TO ROTHMAN DEC. PG. 4

   Jennifer Denton
   The justice system is broken.
   1w    Like   Reply            14

  View all 4 replies

   Waco Payne
   Thank you Spokane County Sheriff's Office for doing what you can. You guys rock.
   1w    Like   Reply   3

   Sheila Bechtel
   Wow she never learns...smh
   1w    Like   Reply

  View all 6 replies

   Beckie Shelly
   Vote better!
   1w    Like   Reply

   Cosmo Robinson
   Why do I feel like this will just happen again
   1w    Like   Reply   9

  View 1 reply

   Lorry Watts - Fitzpatrick
   Unhinged. I pray the lady gets help & understands he just wanted Sex. I’m so
   thankful she escape.
   1w    Like   Reply

  View all 2 replies

   Kathy Meyer
   So who let him out on the prior charges? Cruz? Sick of these people being able to
   get released so easily.
   1w    Like   Reply                                                               9

        Spokane County Sheriff's Office replied · 19 Replies

   Bob Salsbury
   3 strikes
   1w    Like   Reply   2

  View all 2 replies

   Amanda Hunt
   I hope that mence to society is locked up and they throw away the key.
   1w    Like   Reply   Edited

   Mt. Adams Area Emergency & Info page · Follow
   Oh that poor woman I’m so glad HELP arrived! I lived through domestic violence
   myself and escaped. it s a horrifying life-changing experience
                                                                                                8
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         Like Reply               ECF No. 14-3     filed 06/27/24   PageID.275 Page 6 of 8
                                                              EXHIBIT 2 TO ROTHMAN DEC. PG. 5

   Michael Anderson
   He'll be at Eastern in no time.
   1w   Like     Reply            3

   Valeræ Cofféy
   So many #NakedNeighbors in this town
   1w   Like     Reply                     2

   E Dee Taylor
   Great job officers. How frightening that had to have been for that lady.
   Praying for your safety officers.
   1w   Like     Reply   Edited

   Kootenai Co. Substance Abuse Council · Follow
   That's just great they are closing prisons. Sarcasm there. BUT HE IS NOT OR SHOULD
   NOT BE A MINIMUM SECURITY.
   1w   Like     Reply

   Loran Dean Langenfeld
   Makes No Sense
   1w   Like     Reply

   Brendan Flynn
   And he's probably out already
   1w   Like     Reply

   Autumn Nixdorf
   Just wow...
   1w   Like     Reply

   Jim Thompson
   Typical unfortunately you have those fellas who just don't learn their lessons until
   they are convicted and doing life without parole. But I was just having a moment.
   Well that's fine until your moment seeps into our moments. Time to be honest with
   you… See more
   1w   Like     Reply

   Miles Lee Kelsey
   #visitspokane
   1w   Like     Reply

   Michelle Benavides
   Just wow.
   1w   Like     Reply

   Corey Douglas
   Big surprise
   1w   Like     Reply

   Alex Price
   Laura Price
   1w    Like     Reply
                                                                                                8
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                                                              EXHIBIT 2 TO ROTHMAN DEC. PG. 6

   Lori Otis
   The world would be a better place if they locked this predator up for life.
   1w    Like     Reply                                                     3

   Patrick Karr
   1. Don’t release violent offenders. Name the judge, work to vote against
   2. Non-lethal earlier repeatedly: taser, beanbags
   3. More K9s used to control violent offenders
   1w    Like     Reply                                                 6

        Spokane County Sheriff's Office replied · 3 Replies

   Josh Cass
   Another one that should be planted in the ground. Too bad the neighbor didn't do
   us all the favor
   1w    Like     Reply                                                                  4

   Justin Mars
   He will get a slap on the wrist and released by the incredibly weak justice system,
   here in Washington State
   1w    Like     Reply

   Ann KT
   Psychopaths have a broken brain they cannot be rehabilitated. keep them locked up.
   1w    Like     Reply

   Tom Burgess
   So sad this woman had to be terrorized by this horrible criminal.
   Good job Sheriffs on catching him and maybe the judges will keep him off the street
   now.
   1w    Like     Reply

   Mike Schumacher
   This upstanding citizen needs to be paroled again and next time, stay off the FEN-
   FEN.
   1w    Like     Reply   Edited                                                         3

   CJ Lake
   The sheriff’s dept needs a team that just ropes the whackadoodles. Like team ropers
   at the rodeo.
   You couldn’t pay me enough to deal with this insanity. ￼
   1w    Like     Reply

   Abby Gilstrap Leman
   I would support an off-planet prison system, especially for repeat and/or violent
   offenders. Let them float around space for years and may the odds be ever in their
   favor.
   1w    Like     Reply

   Elsie Stewart
   Please keep this jerk locked up!
   1w    Like   Reply
                                                                                                8
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                                                              EXHIBIT 2 TO ROTHMAN DEC. PG. 7

   Laura Marie Stewart
   And they were worried about tasing him on cement because he might get hurt?
   Wtf? I'm gonna say I thiiiiink it would have been warrented
   1w    Like   Reply

   Joe Davis
   Tased twice? Couldn’t they have given a warning tase? Cops just driving around
   looking to tase naked guys while a pack of feral kids ride without pride on a
   crosswalk.
   1w    Like   Reply

        Spokane County Sheriff's Office replied · 3 Replies

   Mike Kalous
   To bad you had to use a tazer would be nice if you could just go lethal
   1w    Like   Reply
